                Case 23-11131-TMH   Doc 959-2   Filed 12/19/23   Page 1 of 4




                                      EXHIBIT A

                                    Proposed Order




LA:4868-0761-1285.6 03703.004
                Case 23-11131-TMH             Doc 959-2        Filed 12/19/23        Page 2 of 4




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                   Debtors. 1                          (Jointly Administered)

                                                                       Related Docket No. ___

                     ORDER APPROVING MODIFIED KEY EMPLOYEE
                 INCENTIVE PLAN FOR SENIOR LEADERSHIP EMPLOYEES

         Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”), for the entry of an order (this “Order”),

pursuant to Bankruptcy Code sections 105(a), 363(b), and 503(b) and (c)(3) and Bankruptcy

Rule 6004 approving modified key employee incentive program (the “KEIP”) for six Senior

Leadership Employees (as defined below), as more fully set forth in the Motion; and upon

consideration of the First Day Declaration; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012; and this

Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this

Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of

the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion

1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
    Debtors’ proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor
    Amyris Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885
    Hollis Street, Suite 100, Emeryville, CA 94608.
2
    A capitalized term used but not defined herein have the meaning ascribed to it in the Motion.



LA:4868-0761-1285.6 03703.004
                Case 23-11131-TMH              Doc 959-2     Filed 12/19/23    Page 3 of 4




and having heard the statements in support of the relief requested therein at an interim hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual

bases set forth in the Motion and at the Hearing establish just cause for the relief granted herein;

and upon all of the proceedings had before this Court; and after due deliberation and sufficient

cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.        The terms of the Debtors’ proposed modified KEIP, attached hereto as Exhibit 1,

are approved.

                   2.           The Debtors are authorized, but not directed, to make any and all

payments to the Senior Leadership Employees under the KEIP if the applicable condition(s) for

any such respective payments are met, as described in the Motion.

                   3.           This Order shall be binding upon any successors and assigns of the

Debtors, including any trustee appointed in these Chapter 11 Cases or in any superseding

proceeding under chapter 7 of the Bankruptcy Code.

                   4.           This Court shall retain exclusive jurisdiction to hear and determine all

matters arising from or related to the interpretation, implementation, or enforcement of this

Order.




LA:4868-0761-1285.6 03703.004                           2
                Case 23-11131-TMH   Doc 959-2   Filed 12/19/23   Page 4 of 4




                                    Exhibit 1 to Order



                                      REDACTED




LA:4868-0761-1285.6 03703.004
